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                          UNITED DISTRICT COURT OF NEW JERSEY

                                               for the

                                    District of New Jersey



Carmen A. Sexton,                                        Civil Action No.- - - - -


Plaintiff, Petitioner Pro Se                             Complaint/Notice of Motion

                                                                   For
                                                               Civil Action


                                                               Jury Trial     No
New Jersey Department of Corrections, et.al.

NJ Division of Ri sk Management, Davin Borg

Steven Johnson, Sean Abrams, Mervin Ganesh,
                                                                              RECEIVED
Leila Lawrence, Tamara Rudrow Steinberg

Micheal Ptasenski, Marie Mills Rogers,                                             DEC O8 2021
                                                                              AT 8:':!0-------:-::'7":""-M
NJ Riv. Risk Man.,et al., Naqeeb Abidi, Cheryl Ward.                               vvi1..L'. , , ' '-·~~3H
                                                                                            GL _ ,-, 1,

CBIZ-Perlman Borden, Inc. et al.,John Doe, Jane Doe. et al

Mercer County Prosecutor Office, Doris Galuchie,

Elizabeth Newton,     ·

Defendant(s)/Respondent (s)


Carmen Sexton, Plaintiff, Pro Se
625 Parkway Avenue

Mercer County, Ewing Twp.

New Jersey 08618

(609) 285-8280



Defendants

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New Jersey Department of Corrections

NJSP -Law Division c/o Employees

P.O. Box 863-Whittllesey Road

Trenton, New Jersey



New Jersey Department of Corrections

Law Division-c/o Steven Johnson, Admin. NJSP 2016
P.O. Box 863-Whittlesey Road

Trenton, New Jersey



New Jersey Department of Corrections

Law Di vision-c/o Davin Borg, Major NJSP 20 16
P.O. Box 863-Whittlesey Road

Trenton, New Jersey



New Jersey Department of Corrections

Law Division- c/o Sean Abrams-Admin. Lt. NJSP 20 16

P.O. Box 863-Whittlesey Road, Trenton, New Jersey




New Jersey Department of Corrections/NJSP et. al
Law Division-c/o Lt. Ptaszenski

P.O. Box 863-Whittlesey Road, Trenton, New Jersey



New Jersey Department of Corrections/NJSP et. al

Law Division- c/o Sgt. Defazio, Union Rep NJSP 20 16

P.O. Box 863-Whittlesey Road, Trenton, New Jersey




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New Jersey Department of Corrections/NJ SP et. al

Law Division- Tamara Rudrow-Steinberg, Esq.

P.O. Box 863-Whittlesey Road, Trenton, New Jersey



New Jersey Department of Corrections/NJSP et. al

Law Division- c/o Laila Lawrence/EEO Director

P.O. Box 863-Whittlesey Road, Trenton, New Jersey



New Jersey Division of Risk Management

c/o Cheryl Ward

P.O. Box 620, W. State St. 6th fl., Trenton, New Jersey 08625



New Jersey Division of Risk Management

c/o Naqeeb Abidi
P.O. Box 620, 20 W. State St. 6th fl., Trenton, New Jersey 08625



CBIZ-Perlman Borden, Inc.-Law Division

c/o John Doe, Jane Doe-agents/affiliates

250 Phillips Boulevard, Suite 280, Ewing, New Jersey 08618



Office of the Mercer County Prosecutor
c/o Doris M. Galuchie, First Assistant Pros.

P.O. Box 8068- 240 W. State St., 8th Floor

Trenton, New Jersey 08650-0068




Office of the Mercer County Prosecutor

c/o Elizabeth Newton, Esq.


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P.O. Box 8068- 240 W. State Street
Trenton, New Jersey 08650-0068


Hamilton Police Department
c/o Michael Kenna, police officer

1270 Whitehorse-Mercerville Road
Hamilton, New Jersey 08619




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                                          Statement of Claim


1.     I Carmen Sexton, Pro Se litigant public employee of NJDOC since December 21/1995,

       (Ex. I) and being under the care and responsibility of named defendant(s) NJDOC officials

       Major DA VIN Borg, Steven Johnson, Sean Abrams, Leila Lawrence, Tamara Rudrow

       Steinberg, Lt. Ptaszenski. I/Carmen Sexton/Plaintiff having filed this complaint for personal

       injury caused by unlawful conduct/unlawful actions in violation of 42 U.S.C. 21: committed

       by Defendant(s)NJDOC-employees, Davin Borg, Sean Abrams, Steven Johnson, Leila

       Lawrence, Tamara Rudrow Steinberg, Marie Mills Rogers, Micheal Ptaszenski, Richard

       Defazio, Mercer County Prosecutor Office employees et. al. Doris M. Galuchie, Elizabeth

       Newton,    J Div. Risk Management employees et. al, Cheryl Ward, CBIZ Perlman Borden

       employees et. al. John Doe, Jane Doe, Hamilton Police Dept. employee Michael Kenna

       operating in their official state capacities under the color of law having knowingly,

       intentionally, maliciously, recklessly, negligently, failed to intervene, conspired to conceal

       unlawful discriminatory actions of named defendants taken against me the Plaintiff based on

       my sex and in violation of Title 18, U.S.C., Section 242 Deprivation pf rights under color of

       law, 42 U.S.C. 21: 2000e 198 1, 1982, 1983, 1985 , NJSA 10:5- 12 NJLAD, NJSA2A:14-1.

       Tortious Claim for Real and Personal Property (Employment Property) causing personal

       emotional/psychological injury herein as asserted in my pleadings for claim before this

       court(s). I/Petitioner further assert claims against named defendants for action(s) in violation

       of Civil Rights Act of 1964, Title II. Sec. 20 l (a)(b)(2)(c)(d) Sec.202, Sec 203.Sec. 204.

       (a)(b)(c) Sec. 204, and failure to provide reasonable accommodation in violation of Title I.

       American with Disability Act, 42 U.S.C. 12 11 et. seq., 29 U.S.C. , CF 1630.9, and having

       filed US EEOC complaints and received a Notice of Dismal and Right to Sue Letter, (EX P-


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     77) (EX P-159) (EX P-161) herein have filed this complaint against named defendants in the

     U.S. District Court of NJ for federal questions and under the federal authority Sec. 207(a) in

     the Civil Rights Act 1964 Title II Sec. 207(a)(b). I/Plaintiff herein request permission form

     the court to file a brief in excess of 40 page limit due to the date of violations occurring in

     2016 and currently pendency litigation in the OAL court and NJ State Criminal Division as

     well as extensive medical and court records, documentation of continued incidents and

     violations of the named defendant's, affiliates and agents.


2.         On October 5, 2016 named defendant Davin Borg did author and circulate

        NJDOC/NJSP email to NJSP officials and custody supervisory staff, giving official

        directive to segregate and discriminate against me/Plaintiff based on my sex making me

         the subject of a disciplinary investigation and not the incident per se. indifferent from

        three male supervisors of similar Joe Reardon, Sergeant and Edward Mariconda,

         Sergeant, and one of superior/rank and authority Lt. Calvin Spires, who were not subject

        to the same indifference as it relates to the same work incident and departmental

         investigation of such incident. The NJSP email of Davin Borg was circulated to NJDOC

         upper management and NJSP officials Mervin Ganeesh, Steven Johnson, Sean Abrams

        and to all custody staff supervisors for enforcement of such discriminatory actions to

         discriminate based on my sex, intimidate, humiliate and harass and created a hostile work

         environment for me/plaintiff and in violation of 42 U.S.C. 21: 1982,1983, 1985,

         1986,l 988:2000(a)(a-l)(a-2) U.S. Civi l Rights Act 1964 Title II. Sec. 207(d) (EXP-

         14)(Ex. P-69.1) Ex. P-76)


3.       On October 5, 2016 and continuously through October 28, 2016 named defendants

Steven Johnson, Davin Borg, Sean Abrams took under the October 5, 2016 NJDOC directive

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email circulated for informative and enforcement purposes did discriminate against

me/plaintiff/rank of sergeant by C laim(s) (1) segregating and targeted for discriminatory

disciplinary action by making me/plaintiff the subject of a biased investigation versus the work

incident in question disciplinary investigation wherein I/plaintiff was treated d isparate and

indifferent from three male sergeants Calvin Spires lieutenant, Eric Mariconda/sergeant and

Reardon Spires/sergeant and 1 lieutenant that were later disciplined for their actions/inaction in

the same incident as me./plaintiff, however were not targeted nor had the following punitive

sanctions enforced against them pending the disciplinary investigation of the work incident

occurring on October 5, 2016 in which they had greater equal or similar responsibility per their

civil service title and NJSP institutional work assignments. 13 Exhibits (EX. Pl4-P-26) (Ex. P-

76)


4.     Claim (2) On October 5, 2016 named defendants Major Borg, Steven Johnson, Sean

Abrams did deny me access and segregated me from the workforce and workplace restricting my

access to the lobby the facility continuously through October 28, 20 16 did via NJDOOC

directive emai I circulated to administrative upper management and all custody staff for

informative and enforcement discriminatory punitive sanctions against me/plaintiff based on my

sex. (Ex. P-1 5) (Ex. P-76)


5.     Claim 3 Defendants Major D, Borg, Stephen Johnson, Sean Abrams and Timothy Maines

denied me the enjoyment of the property rights of my employment protected under the civil

service title corrections officer sergeant. Defendants Major D. Borg, Steven Johnson, Sean

Abrams and denied me privileges to perform the full duties afforded me under such title.




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       a. Claim (4) named defendants denied me of public accommodation to the workplace

cafeteria for meals breaks and strictly enforced my access to the lobby of the workplace/NJSP.

(Ex. P-14-26) (Ex. P-76)


       b. C laim 5 On October 8, 2016 I/plaintiff inquired about available overtime opportunities

and defendants' Steven Johnson, Timothy Maines, Davin Borg Administrative Major, Sean

Abrams Administrative Lieutenant did deny me/plaintiff the privilege of available overtime

opportunities be offered to three males supervisors involved in the same work incident occurring

October 5, 2016 in which I/plaintiff was targeted and made the subject.(Ex. P18), (Ex.Pl 9),

(Ex.P76)


       c. Claim 6 On October 25, 2016 through enforcement of the October 5, 2016 NJDOC

email circulated to NJSP administrative and custody staff Davin Borg/Admin. Major and

Stephen Johnson, Timothy Maines and Sean Abrams in charge of disciplinary matters and

implementation of NJSP policies and procedures discriminated against me/plaintiff and denied

me CPR training based on my sex. (Ex. P20)(Ex.P76)


6.     On October 28, 2016 Major D. Borg and NJSP officials lifted discriminatory directive

against me/Plaintiff and returned me to duty without restrictions being of no threat or potential

harm any persons or public safety. I Plaintiff was not suspended or informed of any disciplinary

action for the October 5, 2016 incident. (Ex.P24)


7.     Claim 7         On October 5, 2016 and continuously through October 28, 20 16 named

defendants Steven Johnson, Davin Borg, Sean Abrams, Richard DeFazio, through enforcement

of October 5, 2016 NJDOC email directive for enforcement of circulated NJSP email sent to all

custody supervisory staff did discriminate against me/plaintiff based on my sex by as mandated



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by departmental policy for aJI custody to intimidate, harass, segregate me/plaintiff from

workforce and caused a hostile work environment for me/plaintiff. Defendants' actions taken

against me were indifferent from (2) males sergeants and (1) lieutenant who were involved in the

incident of disciplinary investigation and later disciplined for action/ inaction of such incident.

Defendants actions intimidated, harassed and caused a hostile work environment for me/plaintiff

in were in violations of 42 U.S.C. 21: 1982, 1983, 1985, 1986, 1988:2000(a)(a-1 )(a-2) N JSA

10:5-12.(a)(b)(c)(d)(e)(t)(1 )(2) (Ex. Pl-P24) (Ex. P69.l) (Ex. P76)


8.     Claim 8. On Nov 2, 2016 I/Plaintiff suffered an emotional/psychological breakdown

causing injury November 2, 2016 while at work after the accumulation of unlawful action(s) of

the Davin Borg's October 5, 2016 directive to discriminate me, plaintiff and was enforced by

NJDOC officials causing motional/psychological injury leaving me in need of emergency

treatment from NJSP RN Bass and transferred to Robertwood Johnson Hospital for emergency

medical treatment/care. On November 3, 2016 I/Petitioner was diagnosed as suffering from

PTSD by primary physician Dr. Robert Silverbrook. The named defendant's actions against

me/Petit ioner were in v io lations against 42 U.S.C. 21: 1982, 1983, 1985, 1986, l 988:2000(a)(a-

1)(a-2) NJSA 10:5-1 2.(a)(b)(c)(d)(e)(t)(l)(2) (Ex. Pl-P24) (Ex. P69. l ) (Ex. P76)(Ex. Pl-

P26)(Ex. P27-P35)(Ex. P44)(Ex. P39) (Ex. P40)(Ex. P-62)(Ex.P70) Defendants intentionally

discriminated, intimidated, harassed and caused a hostile work environment for me/plaintiff and

in v iolation causing me injury personal harm.


9.      Claim 9 On November 3, 2016 NJDOC/NJSP officials Steven Johnson, Davin Borg,

Sean Abrams discriminated and retaliated against me based on my sex and after taking a leave

for the injury I sustained as the direct result of the discriminatory actions that deprived me of my

civil and employment rights and caused my emotional and psychological injury, Defendant's in

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retaliation and attempt to conceal their misconduct served me/plaintiff preliminary disciplinary

charges of demotion to corrections officer sergeant and 120 day suspension indifferent from (1)

male sergeant and ( 1) lieutenant that was also disciplined receiving only official written

reprimands of 3 day suspension for same/equivalency of departmental infraction per Sean

Abrams NJDOC investigation report of incident October 5, 2016. Violations NJSA 10:5-1 2(d)

reprisals (Ex. 69. l )


10.      On November 7, 2016 I/Plaintiff initiated a workers compensation claim against

Defendant NJDOC for the injury I/Plaintiff sustained. The NJDOC defendants identified and

named are employees and/or designees, third party affiliates, agents' designee(s) of Plaintiffs

employer. whom purposely, knowingly, recklessly, negligently acted and deprived me/Plaintiff

of liberty and property rights of my employment without due process of law and additionally

denied me/Plaintiff equal protection of the laws guaranteed under the Constitution of the United

States of America when they took action against Plaintiff whom was employed by Defendant,

unsuspended, pending a investigation of the work incident involving a suicidal inmate and

NJDOC supervisors and employees, wherein no injury was done to any persons and no eminent

danger to any persons or public safety. Defendants actions intimidated, harassed me/plaintiff

causing further harm, of psychological and emotional injury and in violation of 42 U.S.C.

2 1:1 982,1983, 1985, 1986,1988:2000(a)(a- l )(a-2) (Ex.P24 )(Ex.P25) (Ex. P26)


11. Claim 10 April 2018 NJDOC EED/AA Laila Lawrence and Victoria Kuhn EEOC Director

of Law Decision conspired to conceal unlawful discriminatory action of defendants that

I/Plaintiff complained about by initiating NJDOC EED complaints against Davin Borg, Steven

Johnson, Sean Abrams, Chetirkin,. justified discriminatory actions of named defendants that

were named in the April 2017 NJDOC complaints filed by me/plaintiff in which I complained of

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the exact defendants' actions named and stated herein this matter before the court. Defendants'

actions were in further caused harm and psychological/ emotional harm and blamed me/plaintiff

for the treatment I received at the hands of the defendants. Defendants' actions intimidated and

contributed to a hostile work environment for me/paints and wherein violation of 42 U.S.C.

21: 1982,1983, 1985, 1986, 1988:2000(a)(a-1) (a-2) Defendant' s actions were in violation of 42

U.S.C.21:1985, NJSA 10:5-12. (Ex. Pl-P24)(Ex. P48)(Ex. P49)(Ex. P50)(Ex. P51) (Ex.P52)

(Ex.P53) (Ex.P54)(Ex. P69-69.10)(Ex.P76)


 12. Claim 11. April 17,2017 and May 10, 2017 Davin Borg, Stephen Johnson, Sean Abrams,

Micheal Ptzsanski, Richard Defazio, Marie Mills-Rogers, Elizabeth Whitmore denied/and or

assisted named defendants/NJSPP officials in concealing the NJSP grievances filed by me

Plaintiff for the unlawful and discriminatory actions taken against me October 5, 2016

continuously through October 28, 2016 to deny me privileges of overtime ,public

accommodation of workplace cafeteria. Violations NJSA 11 *Ex. P54 P55Pl OP61


 13.   Claim 12.      October 24,2018 Tamara Rudrow, after being denied summary judgement

to dismiss my/plaintiffOAL appeal on July 2018, then conspired with Doris M. Galuchie of the

Mercer County Prosecutors Office to maliciously seek criminality of name/plaintiff for the

October 5, 2016 by my OAL hearing, two years after NJSP investigation of NJSP incident, OAL

discovery completed and hearing date set by OAL ALJ Calguire. Tamara Rudrow and Doris

Galuchie did aid and abed named defendants in an attempt to conceal misconduct and U.S. civil

rights violations misconduct of defendants initiating a criminal investigation in the Mercer

County Prosecutors Office against me/plaintiff unwarranted without probable cause. (Ex. P97)

(Ex. P98)(P90)




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14.    Claim 13.       On November 2018, and March Marie Mills Rogers authored NJDOC

email and threatened me/plaintiff to retire, resign or forced discharge from employment for

seeking additional treatment for work injury caused by defendants on November 2, 2016 thereby

denying me/Plaintiff reasonable accommodation of employment for my claimed mental

psychological disability. Defendants actions intimidated, harassed and caused a hostile work

environment for me/plaintiff in were in violations of )


15. Claim 14.      Beginning app November, 2017 after filing NJSOC EED, NJDCR complaints

and evidence of misconduct I/plaintiff began to be continuously harassed near around my

homme continuously present Defendant, et agents of CBIZ-Perlman Borden, Risk Management

agency and third-party affiliate of the State of New Jersey agents, affiliates acted on behalf of its

client NJ Risk Management to target and publicly using geo ping devices technologies to

harass/intimidate/destroy personal property and disturbing and depriving and disturbing

Plaintiffs peace of habitation via use/misuse of geoping-ing technological equipment and

devices causing Plaintiff emotional additional trauma induced release of my diagnosis Post

Traumatic Syndrome Disorder resulting from my work injury caused by named defendants in

this action leaving me in need of emergency care on Feb 5, 2019 and caused involuntary

hospitalization for psychiatric treatment on February 12. 2019 through March 4, 2019 and

ongoing treatment. Defendants conduct deprived me of my inherent and inalienable rights to life

and the pursuit of happiness causing further harm and injury to me/Plaintiff via unlawful

Harassing conduct, which has continued to the date of filing of this complaint . 42

U.S.C.21: 1985, NJSA 10:5-12. (Ex. 137)(Ex. Pl 05)(Ex. P108) (Ex.P109) (Ex.Pl I 0)(Ex.Pll 1-

Ex. P122) (Ex.P207) (Ex.P221) (Ex.P248), Fifth amendment protections under United States

Constitution.


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16. Claim 15 On March 19, 2019 Marie Mills Rogers NJDOC HR Manager conspired with

defendants to terminate my/Plaintiffs employment when she authored a NJDOC HR official

correspondence to me harass me/plaintiff to retire/resign, while having sought reasonable

accommodation for additional treatment under NJSA34: from my while on an approved leave

authorized by the certified treating workers compensation treating psychiatrist Dr. Ali. having

sought additional treatment governed under NJSA Title 34 and 29U.S.C. CF 1630.9. Defendant's

motive was to have OAL of retaliatory disciplinary actions case become moot via employment

termination or retirement, thereby adding and abetting the to further conceal the unlawful

discriminatory actions taken against me by the named defendants42 U.S.C. 21 :1982, 1983, 1985,

1986, l 988:2000(a)(a-l)(a-2) Defendants' action were in violation of 42 U.S.C.21: 1985, NJSA

10:5-12., 29 U.S.C. CF 690.9 (Ex.P100)(Ex.P106)(Ex. P137)


17. Claim 16 On April 23, 2019 through September 20, 2020 Defendants NJ Division of Risk

Management Naqeeb Abidi Cheryl Ward denied me/plaintiff entitlement of my temporary

disability benefits from April 23, 2019 through September 1, 2020 forcing Plaintiff into

bankruptcy and depriving me/Plaintiff of lawful entitlement of temporary disability benefits for

work injury occurring November 2, 2020 and the direct result of defendant's discriminator

unlawful actions October 5, 2016 and continuously through October 28 2016 in which

defendants represent NJDOC. Defendants actions intimidated, harassed and caused a hostile

work environment for me/plaintiff in were in violations of 42 U.S.C. 21: 1982, 1983, 1985,

1986, l 988:2000(a)(a-l)(a-2). Defendants' action were in violation of 42 U.S.C.2 1: 1985, NJSA

10:5-12. (Ex. 132) 133 134 135 136 141 143 144 145 149 150 151154 160 162 163 168 169 170

171172 176 177 178 180 181183 185 191192 193




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 18. Claim 17 On August 6, 2020 Angelo Onofori Doris Galuchie Elizabeth Newton malicious

prosecution criminal complaint# knowing that prosecution having not meet the elements of

criminal compliant charge for prosecution for cause I/plaintiff was mentally incompetent and

involuntarily hospitalized at stated crime time/place/event of alleged crime. Additionally,

I/Plaintiff initiated police contact for call of help for cause of escalated PTDS symptoms after

being publicly harassed and threated by agents of Perlman Silver man working on behalf of its

client NJ Div. Risk Management. Violations NJSA (Ex.P) (Ex.P) (Ex.P) (Ex.P) (Ex.P) (Ex.P)

(Ex.P) (Ex.P)


19. Claim 18 State of NJ, Mercer County Prosecutor Office maliciously prosecuted Complaint

warrant Denying me due process and did not allow a not guilty pleas for mental incompetency

under NJ Uniform conditions into the NJ Pre Trial Intervention and forfeiture of any recourse to

due process thereafter if I/Plaintiff for reason circumstances was unable to successfully complete

the program. State of NJ Attorney General's Uniform Guideline on Pretrial Intervention program

violates defendant's fifth amendment right/protection of due process under the United States

Constitution (Ex. P202A)


                                             INJURY

20.     The defendants' forestated actions taken against me/Plaintiff beginning October 5, 2016

and continuously through October 28, 2016 and as a direct result caused me to suffer a

permanent emotional and mental psychological injury diagnosed condition of post-traumatic

stress disorder. The harassment and unusual work conditions and continued harassment and

 intimidation I/plaintiff have been subjected to by named defendant's has left me in need of

 medication and continuous psychological treatment due to the actions of NJDOC officials and

designees and third party affiliates of the State of New Jersey it's Modus Operandi re:(NJ

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Bridgegate/scandal) via utilizing agents, employees and others persons harass and cause nuisance

to its perceived adversaries and/or prevent legal action or those who oppose unfairness. And in

my case to prevent me from exposing illegal action and pursuing this suit against them for their

illegal actions and harm done to me and additionally to avoid possible criminal persecution under

New Jersey State law for their illegal actions. The Defendant(s) have caused and continues to

cause me and others famil y, friends and close associates emotional and psycho logical harm via

 public harassment and intimidation. The injury having left me in need of psychological treatment

for depressive state, causing me to lose hair, weight loss, appetite suppression, loss of interest in

social organizations I had been associated with for over 20 years, avoidance of large gatherings

crowds because of the excessive intensive and prolonged public intimidation and threats by

Perlman Borden affiliates and agents. The abusive actions of defendant' s NJDOC and third-party

affiliates. and has left me in need of prescription medications to treat symptoms of nightmares,

depression, anxiety. Additional harm(s) done to me/P laintiff by Defendants extend to cause of

my hair loss and weight loss, active bankruptcy, economic damages for past current future

wages, and insight equitable property losses.


21.     I/Plaintiff will rely on and present the U.. District court and Defendant(s) with

documented     JDOC source evidence written statements submission and omission circulated

emails, case law, court proceeding transcripts,med ical/ treatment records labeled in the attached

list of Exhibit (P1-P248) and submitted attached to this complaint and to be submitted to

defendants/legal counsel in the exchange of di scovery as determ ined by the court. I/Plaintiff

upon cour;t filing herein assert my claims against named defendants in the U.S. District Court of

N.J. NJ fo r federal questions and as required by federal and state court(s) procedure to serve




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notice/waiver of service on all defendants/legal counsel named in this matter to the defendants/or

their legal representatives named in this complaint.




NJ District Court- Dkt. No: - - - - - - Exhibit List




Pl     NJDOC Report on progress Probationer February 25, 1997


P2     Sergeant promotion /Transfer NJSP 03/23/2013 Spec., 6pgs


P3     NJ Sup. Appell. DKT No. A2623-14T4, 3 pages


P4     Report harassment/retaliation Lt. S. Rogoshewski, 2/13/2014


P5     NJDOC EED claim/Retaliation, Lt. S. Rogoshewski, 03/23/2014, 5pgs


P6     NJDOC FMLA Leave request appoval May 27, 2014, 06/12/20 14, 2pgs


P7     NJDOC-EEOC Retal. claim Lt. S. Rogogshewski, 02/13/20 14, 5 pgs


P8     NJDOC-Report Unusual Incident- susp. Inmate mail, 10/25/2014


P9     NJDOC FLA Leave January 25, 2016, March 17, 2016


PIO    NJDOC Minor Disc.Action, Lt. Sean Abrams, 08/6/2016


Pl 1   Report harassment/retaliation, Lt Sean Abrams 09/13/2016, 2pgs


P12    Harassment/retaliation Lt. Sean Abrams, Sept. 19-20/2016, 2pages

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P13    NJDOC Incident Inmate threat of harm, inmate Montas, Sept. 20/2016


Pl4    NJDOC SUBJECT incident -NJSP schedule Shift C- Oct.05/2016


P15    NJSP Email Major D. Borg, Oct.05/20 16 at 3:07am,3: 15am, 3:21am


P16    NJSP Email Mak.or D. Borg email, Oct.05/2016 at4: 15pm


P 17   NJSP SCHEDULE Shift C dated Oct.06/20 16


P 18   NJSP Operations email denial overtime dated Oct.08/2016, 6:48am


P19    NJSP Denial Overtime Operations C.O. K. Myles, Oct.08/2016, 8:14pm


P20    NJSP Email scheduled CPR training C.O. Morton, Oct.10/2016


P21    NJSP emai l NJLESA union reps. Request for relief, 10/20/2016


P22    NJSP SID Report- Request help/inmate Montas, 10/26/20 16


P23    NJSP Disc. sanctions inmate Montas, 9/22,27/2016, 2pgs


P24    NJSP email Major D. Borg, 10/28/2016, 2:33pm-10/5/20 16 4:51pm


P25    NJSP SXHEDULE, Shift C, 10/7,8,11 ,19,21,28/20 16-6pgs


P26    NJSP SCHEDULE Shift C, Nov. 2, 2016


P27    NJSP Report Anxiety Attack, leave treat.-11 /2/2016


P28    NJSP Medical Treatment RN Bass, 11 /2/2016, 2230pm, 2pgs


P29    RWJ Hospital Medical Emergency ,11 /02/2016, 23:39pm, 25pgs


P30    NJ Employers report accident RWJ emerg. 11/02/2016, 2pgs.



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P3 l   NJSP medical Release duty, 11/03/2016 4: 15am


P32    RWJ Dr. Silverbrook primary,EKG, Psych.ref., 1 l/3/2016,10:30am, 4pgs


P33    NJ Div. Treasury/Risk Man.,accident claim denial , 11/03/2016


P34    RWJ primary FMLA Leave, Dr. Silverbrook, 11 /7/2016,Spgs


P35    NJ Temp. Disability Benefits. Dr. Silverbrook, 11/7/2016, 8pgs


P36    NJSP Disciplinary action, 11/7/2016 cert. 11/3/20 16


P37    NJDOC Appeal Major Disciplinary Action/NJSP 11/7/20 16


P38    Psychologist Dr. J. Charauk, psych. Assmnt., 11/09/2016, 2pgs


P39    Treatment-Billing, Dr. J. Charauk Nov., 2016-Aug. 2017, 5pgs


P40    Lifeback psych.Records Req .. Teasley Nov. 2016- Apr. 2017-11 pgs


P41    NJDOC/NJSP FMLA Leave req. appr., 11 /30/20 16


P42    Notice of required workers Comp. claim, 12/5/2016


P43    Cert. of contested workers comp. claim 12/08/20 16


P44    Psych. Eval. Dr. Chaurauk, Jan. 24, 2017, 3pgs


P45    Letter counsel Michael Brottman, Esq., 02/08/2017, 3 pages


P46    Letter TO NJDOC/HR/EED, Dr. Charuk, 03/28/20 17, 4pgs


P47    NJ Div. of Civil Rights Interv. verfied complaint, 04/04/2017,17pgs


P48    EEO comp!. filed 4/13/20 17 NJSPl 7:04:003, Lt. B. McGowan, Lt. Richards,5pgs



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P49    EEO compl. filed 4/13/2017 NJSP l 7:04:004, Lt. s. Abrams, Lt. Ptaszenski, 5pgs


P50    EEO complaint filed 4/ 13/20 17 NJSPl 7:04:005, SCO Shulas, SCO Lenahan, 5pgs


P5 I   EEO complaint filed 4/13/2017 NJSPl 7:04:006, Major Davin Borg,5pgs


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P53    US/EEOC complaint filed 4/ 17/2017 Charge #524-2017-00674, 6pgs.


P54    NJDOC/NJSP grievance #17-09 filed April 17, 2017


P55    Email 04/18/2017 at 3:07pm Lt. Ptaszenki-NJSP Adm. rejected grievance #17-09


P56    NJDOC/EED letter schedule interview, 04/20/2017


P57    NJDOC/EED Interviews/Complainant Carmen Sexton


P57.1 NJDOC/EED Interview statement, 7pgs-May 2, 20 17


P57.2 NJDOC/EED Interview 05/02/2017, 14 pgs. (missing pgs 8-14)


P57.3 NJDOC/EED Interview


P57.4 NJDOC/EED interview May 3, 2017, 8 pgs, received incomplete


P57.5 NJDOC/EED interview May 3, 2017, 9 pgs rec. incomplete.


P58    Letter NJDOC HR Dir., NJDOC grievances # 17-09 dated 05/10/2017


P59    May 16, 2016 Return to work-Dr. Silverbrook-NJSP Sched. 05/16-6/22/2017


P60    Grievances #17-09 amend. Resubmit. to NJDOC HR, 05/ 10/2017, 2pgs


P61    Email retal. Lt. Ptzsanski, NJSP Adm in. threat transfer, 06/02/20 17, 2:57pm



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P65    NJDOC/NJSP notice of 120 suspension/demotion June 22, 2016


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P67    Unemploy. statements June 2017 through week ending Nov. I 6, 20 17, 3pgs.


P68    Workers comp. claim #2016-3055 closing motion treat/benefits 7/18/2017


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P69.4 Witness Interview-Rason Campbell, Rep. SCO Schulas, 10/18/2016


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P69.6 Staff Member Interviewed- SCO L. Lenahan, SCO Schulas, 10/ 18/20 16


P69.7 Staff Member Inteviewed-Joe Reardon, Rep. SGT. Defazio, 10/13/2016


P69.8 Staff Interview-SGT Mariconda, Rep. SGT. Defazio, no date


P69.9 Accused Interview-SGT Carmen Sexton, Rep. Sgt. Defazio, 10/18/20 16


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P70    NJDOC Leave Ext. Dr. Syed Ali 11/15/20 17(11 /02/2017-1 /02/2018)


 P71   Letter/emai l Div. Risk auth. Temp. di sabi lity benefits, 12/04/2017, 2pgs


 P72   NJDOC Ext Leave-Dr. Syed Ali 12/13/20 I 7 (12/1 8/2017-0 1/22/20 18)


 P73   N JDOC Ext. Leave Dr. Syed Al i, Feb. 20 18


 P74    JDOC Ext. Leave Dr. yed A li, March 14,201 8(03/20-06/ 1 l/20 18)


 P75   Status Inquiry 2/20/20 18 to NJDCR-Mr. Atley complaint fi led April, 20 17


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P91    NJDCR Letter to withdrawal complaint, dated 07/ 19/2018


P92    *NJDCR File disclosure-NJDOC Document info request 5/26/2017,4pgs


P93    Letter NJDCR req. to preserve case file/withdrawal notice, 7/23/20 I 8,2pgs


P94    Letter, Civil Service appeal withdrawal 07/23/20 18


P95    Letter NJDCR request correction date stamp error, 07/30/2018


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P97    Email Crivelli, Esq , Init. Crim. Mercer Cty. Pros. 10/25/20 18,3pgs


P98    Letter Mercer Cty. Pros.-OAL court delay hearing, 10/24/20 18


P99    NJDOC/Leave Ext work. comp. Dr. Ali cert, 11/06/2018,7Pgs


Pl00. NJDOC-Marie Mills letter harr., 11/26/2018


PlOl. NJDOC Leave Ext Approval, 11/30/2018, ( l l/03/18-01/3/20 19)


Pl 02. Letter Req. treat/ext. Leave Appr. 12/06/2018(11/07-1/3/2019)2pgs


P103. Letter NJDOC leave Ext inquiry, 12/26/2018, Jan.3.2018 (2pgs)


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PI 06. *NJDOC harass/denial leave time, Leave ext. physician, Jan. 30, 2019


Pl 07. NJDOC Leave Ext approval, 02/05/20 19, (0 l/3 l/2019-02/27/2019)


Pl 08. Ewing Twp. Police #12019003553 report harass. , 02/05/2019 at 13:06pm, 2pgs


Pl 09. Ewing Twp. Police #12019003558 report help/sick. 02/05/2019 at 13:25pm, 2pgs


P 110. Capital health emer. treatment 02/05/20 19 at 13 :26 Dispatch Amb.,3pgs


Pl 11. Capital health emer. treat. report 02/05/2019, EKG, Discharge. 2 lpgs


Pl 12. Email Ewing Twp police inquiry ofinc./missing info. 02/6-9/20 19,5pgs


P 11 3. Perlman Borden Salisbury agent-John Doe harass. Photos 02/05/2019


Pl 14. Email M. Brottman, Esq to DAG Cheryl Ward, harass., 02/08/2019 at 1:58pm


Pl 15. Email Brookdale college off. Dononvan, report harass., 02/09/2019 at 9:44am


P 11 6. Pictures agent Brookdale college Raritan NJ, Pat diner Trenton, NJ


Pl 17. Brookdale college class withdrawal receipts 0 1/28/2019


P l 18. Ewing Twp. Police report #12019004022 vehicle vandalism, 02/1 0/2019,2pgs


P l 19. Hamilton Twp. 9 11 call request. in discovery 20 19, 2020, 202 1


Pl 20. NJ Dept. Human Serv. Outreach Police trans./sup. 2/12/201 9 at 09:05am


P 12 1. Capital Health Crisis/ lnvol. Comm. 2/ 12/2019-2/15/20 19 *records request


P122. Transfer Ancora P.H. Rec. req. Feb/15/20 19-March 4, 20 19


P l 23. Detainer Feb. 15, 2019 at 10:00am Ancora P.H.



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P1 26. Comp. Warrant Proc. Mercer Cty. Sher. March 5, 20 19, 8pgs


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 P 130.   cheduled appoint/ workers comp. psychiatrist/therapist


 P13 l. Property/cell phone not returned Ancora P. H. 03/06/2019


 Pl 32. NJ Div. Risk. Naqeeb A bidi, Medical Record Release,03/07/2019


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 Pl35. *NJDOC L/Ext leave request cert. Dr. Syed Ali, 03/18/2019, 6pgs


 Pl 36.   JDOC L/ Ext approval, 03/20/20 19, (02/28/20 19-03/l 5/20 19)


 P 137. NJDOC HR letter-Marie Mills to retire, 03/19/2019


 Pl 38. Email/letter Crivelli , Esq. Harass./safety/OAL case, 03/19/2019, 4pgs


 Pl 39. NJDOC/NJSP Notice ofDiscipl. 03/20/20 19, (02/12/2- 10-03/04/2019)


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P142. March 21, 2019-Treatment Lifeback, Dr. Teasley


P143. Email M. Brottman, Esq./Div. Risk-March 29,20 19-April 17, 2019


P144. *Email M. Brottrnan/Div. Risk, N. Abidi, March 29, 2019, 12:52pm,


P145. Email Div. M. Brottrnan, Esq/ Div. Risk N. Abidi, Apri l02-05/2019, 3pgs


Pl 46. Email, Crivelli/Barbati,ffamara Rudrow -Mercer Cty Pros .. ,04/06/2019, 3pgs


Pl47. NJDOC/NJSP pre-termination docs./lnvol. Corn., March 26,2019. 3 pgs


Pl 48. Entry-IOP/Wornen 's Trauma/Penn Medicine,April 08, 2019, 4pgs


P149. Term. Temp. Dis. Ben., Div. Risk Man., N. Abidi, 04/17/20 19, 4pgs


P 150. Motion reinstate Temp. Ben./Cert., M. Brottrnan,April 23, 20 19.3pgs.


P l 5 1. Respondent-Div. Risk-Ans. Motion Reinst. Temp. disab. Benf.


Pl 52. Email R. Lord. Esq/NJDOCN. Kuhn, Esq. Hear. 04/25/20 19.4 pgs


Pl 53. Response Comp. harass. Senator Shirley Turner, 07/ l 1/2019,2pgs


P l 54. IOP Women Trauma Penn Med.Prag.Rec. discharge 07/l 7/20 19,70pgs


P155. US/EEOC-Newark filed comp!. #5242020001552, 10/24/20 19, 3 pgs.


Pl 56. US/EEOC-Newark Complaint amend. #524202000152, 10/28/20 19, 4 pages


P 157. US/EEOC-Newark Dismissal/Notice of Rights #524-2020-00152, 10/30/2019


Pl 58. US/EEOC-PA ADA-complaint #53 0202000599. Nov.4, 2019,6pgs


Pl 59. US/EEOC-Phila. Dismi ssal/Notice of Rights #530202000610, 11 /07/20 19



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Pl 60. *NJDOC L/Ext. Cert. Dr. Syed Ali, Nov.2019(1 l/0l/20 19-12/ 16/2019) 6pgs


Pl 61. US/EEOC-Phi la. Dism./Notice of Rights #530202000599, 11/8/2019


Pl 62. NJDOC L/Ext. Cert Dr. Teasley 12/03/ 2019,6pgs


P163. NJDOC L/Ext. Cert. Dr. Syed Ali, 12/10/2019(06/30/2020)6Pgs


P164. Letter report harass. , Ewing Twp. Mayor Steinman, 12/20/20 19


Pl 65. Letter report harras. Incident. Mercer Ct. Sher. Det. Seals, 12/20/20 19


P166. Letter report harras. Mercer Cty Exec. Brian Hughes, 12/26/2019, 4pgs


P l 67. Bankruptcy-CHAP. 13 filed Jan 3, 2020, #20-10054-MBK


P 168. NJDOC L/Ext Cert. Dr. Syed Ali, 0 l/07/2020, 1 pg. add cert 12/ 11 /20 19


P169. NJDOC L/Ext. Cert. Dr. Syed Ali, 02/02/2020, 2pgs, Re: add cert 12/11/2019


Pl 70. NJDOC L/Ext. Cert. Dr. Teasley, March 3, 2020, 7pgs


P 171. NJDOC L/ Ext. Cert. Dr. S. Ali, March 04, 2020


Pl 72. NJDOC L/Ext. Cert. Dr. S. Ali, April 01, 2020


Pl 73. Workers Comp, ALJ Shanahan decision April 8, 2020, 1 l pgs


Pl 74. Workers Com. ALJ Puma Order May 1, 2020


Pl 75. Motion recon. M. Brottman,Esq. 05/11/2020


Pl 76. NJDOC L/Ext. Cert Dr. Syed Al i, 05/04/2020, 2pgs, Re: add cert 12/11/20 19


Pl 77. Horizon Cas. Dr. Ali PT. Work stat.,05/ 11/2020, 2pgs,Re: add cert.12/11/20 19



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Pl 78. Resp. Div. Risk Ans. Motion/Partial recons. E-filed 07/28/2020


Pl 79. Release M. Brottman, Esq., May 15, 2020, 2pgs.


Pl 80. Motion partial recons./Exhibits and list fi led, Pro se May 15, 2020, 80pgs


Pl 81. Div. Risk-Dr. Syed Ali,Progress Notes, Jun.01/2020, 6pgs.,Re: add cert, 12/ 1


Pl 82. State NJ Police report harras, June 11 , 2020, 6pgs


P183. NJDOC L/Ext. Dr. Syed Ali, 06/29/2020, 5pgs (07/01 /2020-12/31 /2020)


P 184. Letter affirm. Release of counsel M. Brottman, Esq.,07/16/2020


Pl 85. NJDOC Leave Ext. Dr. Syed Ali, -7/22/2020, 3pgs, Re: add cert 06/29/2020


P 186. OAL Notice Appearance, Tucker Moore Law,July 3 1, 2020, 7pgs


P 187. Indictment NJ Superior Court #20-08-0250i, August 6, 2020


P188. August 6, 2020 Motion to Dismiss partial recon. filed 05/11 /2020, l0pgs


P l 89. Application for Emergent Motion, August 12, 2020, 5pgs


Pl 90. Notice of Motion to Stay Pending Appeal fi led August 12, 2020,8pgs


 P 191.   JDOC L/Ext. Dr. Sye·d Ali, August 19, 2020, 5pgs,


 Pl 92. Patient assessment Treatment Dr. Syed Ali , August 19, 2020, 7pgs


 P l 93. Div. Risk-DAG C. Emery-ALI Letter/Exhibits 08/26/2020


 Pl 94. Pet.-ALJ.-Div. Risk, Exhibit List,Cert.,Brief,8/28/2020, 11 pgs


 P 195. Sept. 1, 2020 Trans. Work. Comp Hearing-Dr. Ali, 63 pgs



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Pl 96. Div. Work. Comp. ALJ Shanahan Consent Order-Sept. 02, 2020


Pl 97. Arraign. NJ Super. Ct.-Hon. Pereksta-9/22/2020- Indict#20-080250l,3pgs


P1 98. PTI information appli. Zanaib Ali, Esq., Oct.02/2020,5pgs


Pl 99. PTI Issues/cond. of gui lt plea Oct.03/2020, 27pgs


P200. TI-Notice Interview, Martha Taylor Oct. 26, 2020


P201. NJ Weapons reg/cert.#1301035Zainab Ali, Esq. Oct.30/2020,4pgs.


P202. PTI-Issues of guilty plea Z. Ali, Esq., on.09/2020, 3pgs


P202a. AG Uniform Guidelines on PTI Program, March 01 , 2016, 7pgs


P203. NJ Super. Ct/Trans. Req.-Judge Pereksta Indict. #20-08-02501, 11 /10/2020


P204. NJ Super. Ct/Trans. Req. Hon. Peresksta, Indic.#20-08-02501, 11/20/202 1


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P209. NJ Sup. Ct/Trans. Req. Hon. Pereksta, Indic. #20-08-02501,03/30/2021


P2 l 0. Charles Tucker, Esq,-lssues Req. Mot/Suppress Evi./03/302021 , 6pgs


P211. Charles Tucker, Esq.-April 04, 2021-Insanity Plea cause-2/ 12/20 19


P21 2. NJ Sup. Ct/Trans. Req. Hon. Pereksta, Indic.#20-08-02501, 04/15/2021



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P214. Email-PTI-Conditions/Order, April 20, 202 1, Jpgs


P215. PTI- Standards and Conditions of PTJ, Aug. 19, 2021


P216. PTI-Order Apri l 20, 2021


P21 7. PTI-Pretrial Intervention Order of Postponement, Apri l 16, 202 1


P218. PTT-Psych. Eval, work status (P-,, May 6, 202 1, 10pgs


P219. PTI-Community Service completion, May 25, 202 1, Jpgs


P220. PTI-Fine Satisfied, June 30, 2021, 4pgs


P221. Report Vandalism, Falls Twp. Pol.-7pgs


 P222. NJDOC Leave Ext Dr. Syed Ali, 9/16/2020


 P223. NJDOC L/Ext. Dr. Syed Ali, 10/ 14/2020


 P224. NJDOC L/Ext. Dr, Syed Ali, 11/ 11/2020


 P225.   JDOC L/Ext. Dr. M. Teasley, 12/4/2020


 P226. NJDOC L/Ext. Dr. Syed Ali , 12/09/2020


 P227. NJDOC L/Ext. Dr. Syed Ali, 01 /11/202 1


 P228. NJDOC L/Ext. Dr. Syed Ali,02/09/2021


 P229. NJDOC L/Ext. Dr. Syed Ali,03/09/2021


 P230. NJDOC L/Ext. Dr. Syed Ali, 04/06/202 1



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P233. NJDOC L/Ext. Dr. Syed Ali, 06/30/2021


P234.    JDOC L/Ext. Dr. Syed Ali, 07/28/2021


P235. NJDOC L/Ext. Dr. Syed Ali, 08/25/202 1


P236. NJDOC L/Ext. Dr. Syed Ali, 09/22/202 1


P237.    JDOC L/Ext. Dr. Syed Ali, 10/20/2021


P238. NJDOC L/Ext-Dr. Syed Ali, 11/17/2021


P239. CVS Prescription Med 20 16-202 1


P240. NJDOC Leave Ext Dr. Syed Ali, Dec. ,202 1


 P241. Lifeback Treatment Records


 P242. U.S. District Court Case Case 3:20-CV-01703 FLW-ZNQ, 11/2020, Tucker   Moore

 Law counsel December 2020, Hon. Z. Quraishi


 P243. Pt. Correspondence Dr. Syed Ali 2020, 202 1


 P244. Client Correspoindence Tucker Moore Law Group-Charles Tucker


 P245. NJDOC/NJSP Overtime slips


 P246. OAL Case Dkt# correspondence 2018,20 19,2020 present


 P247. Threat/harm-vehicle Accident Report Lawrence Twp. 11 /16/202 1


                                            Relief

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25.       I/Plaintiff seek relief from the U.S. District Court of New Jersey Superior Court against

the named Defendants, I/Plaintiff herein seek the following relief:


      (1) NJDOC named Defendants, third party affiliates agents of defendants to cease and desist

          all and any further illegal surveillance and actions to intimidate and harass me/Plaintiff

          via third party employees, agents and affiliates and the use of geoping-ing technological

          devices being used to harass and cause harm in or to circumvent justice in this matter

          before the court.

      (2) Injuctive Relief from malicious prosecution of State of NJ Mercer Vintage-Judge

          Pereksta, Indictment # of named defendants and employees of Mercer County

          Prosecutors office, August 2020, April 2021

      (3) Federal question PTI Uniform Guideline requiring guilty pleas for entry into program

          and forfeiture of due process rights under the U.C. Constitution Fifth amendment rights

          for cause of mental incapacity/incompetence

      (4) Injunctive Relief from discriminatory retaliatory disciplinary sanctions of taken against

          me/plaintiff by named defendants and pending on appeal since 2019 in the NJ Office of

          Administrative Law.

      (5) Tolling for having been misled about the validity of claims were unsubstantiated by

          NJDOC EED, NJDCR, NJ Civil Service Commission all stating claims of agency

          backlog and the inability to investigate and process my complaints against named

          defendants. Having violated my trust and being persuaded and tricked into withdrawing

          filed complaints from the perspective state agencies, and being unaware that the

          complaints could/should have remained in the named state agencies for investigation and

          final determination.


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  (7) I/Plaintiff seeks compensatory Defendants in excess of $75,000 and stipulated by the
      court(s) for emotional and psychological harm, loss of income, personal property damage
      loss, loss/ past future wage loss opportunities for cause of Defendants illegal actions.



   (8) Plaintiff seeks punitive damages from Defendants in excess of $300,000 maximum

        allowable as stipulated by the court(s)/jury trial for the emotional and psychological

        harm, duress, distress, caused by Defendants illegal actions.

   ~9) Plaintiff seeks compensatory damages from Defendants for pain and suffering in excess

        of $75,000 as stipulated by the courts for harm done by Defendants illegal actions.


                                         Certification of Plaintiff


    I Carmen Sexton, Pro Se Plaintiff declares under penalty of perjury that the foregoing is true

    and correct. Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best

    of my knowledge, information, and belief that this complaint: (1) is not being presented for

    an improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the

    costs of litigation; (2) is supported by existing law or by a nonfrivolous argument for

    extending, modifying, or reversing existing law; (3) the factual contentions have evidentiary

    support or, if specifically so identified, will likely have evidentiary support after a reasonable

    opportunity for further investigation or discovery; and (4) the complaint otherwise complies

    with the requirements of Rule 11 .


    I/Plaintiff having filed this complaint Pro Se agree to provide the Clerk's office with any

    changes to my address where case related papers may be served. I understand that my failure

    to keep a current address on file with the Clerk's office may result in the dismissal of my

    case.                                /)

    Signed this ~ a y of           (~L                                  , 2021

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    Mailing Addre . 25 Parkway Avenue, Ewing, New Jersey 08618

    Telephone (609) 285-8280 Email                  csexton70@gmail.com

    Notary

     I µCL'(s hqJ{vUAM       ?ciR.~ a certified notary in the State of New Jersey affirms that
  (4,x:';1'.)e'f\   A •Se.-2<+on _      appeared personally before me and presenting the foregoing
     document on          8¼      day of   Q) eC.eM b€:'.l5:             2021 .

     N.J. State Id. DL#      S :?Cf?5 ( ((£1 5 (1 02,                   Exp   O l -03-'2023

     Notary I.D. Name/Business             HQ/'(&\t\~d ~ \JW\Ct-(' Pci RI               Exp.   02(Cs' l 2.o2J.J1
     Signature         ~                                Date   l~lo~t2.02.-1
                        HARSHADKUMAR PATEL
                        NOTARY PUBLJC Of NEW JERSEY
                         My Commission &pres 2/512024




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